Case 5:19-Cr-OOO48-FI\/|O Document 15 Filed 02/15/19 Page 1 of 1 Page |D #:48

 

 

 

 

 

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EgcR-lQOOA ~Ywm>
Subject: Date:
United States V. Lopez de Tirado February 14, 2019 ._.

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To: From: \. ",:;
KIRY K. GRAY REEMA M. EL-AMAMY 'Y_,, m
Clerk, United States District Court Assistant United States Attorneyf'; 2 § § U
Central District of California National Security Division xx §§ 52 ry

For purposes of determining Whether the above-referenced matter, being filed on FebrTlary H,

2019:

(a) should be assigned to the Honorable André Birotte Jr., it
I:l is
is not

a matter that Was pending in the United States Attorney’s Office (USAO) on or before
August 8, 2014, the date the Honorable André Birotte Jr. resigned from his position as the
United States Attorney for the Central District of California.

(b) should be assigned to the Honorable Michael W. Fitzgerald, it
is
l:l is not

(l) a matter that Was pending in the Terrorisrn and Export Crimes Section in the USAO’s
National Security Division on or before August 3, 2015; (2) a matter pending in the
_USAO’s National Seeurity Section in the USAO’s Criminal Division on or before August
3, 2015, or a matter in Which the National Seourity Section Was previously involved; (3) a
matter pending in the USAO’s National Security Division on or after September l4,

2016 ; or (4) a matter in Which Assistant United States Attorney Patrick R. Fitzgerald is or
has been personally involved or on Which he has personally consulted While employed in
the USAO.

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REEMA M. EL;”MMY’
Assistant United States Attorney

 

